            Case 1:19-cr-00366-LGS Document 93 Filed 07/02/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
                                                              :
 UNITED STATES OF AMERICA,                                    :
                                              Plaintiff,      :
                                                              :     19 Cr. 366 (LGS)
                            -against-                         :
                                                              :          ORDER
 STEPHEN M. CALK,                                             :
                                              Defendant, :
 ------------------------------------------------------------ X

LORNA G. SCHOFIELD, District Judge:

        WHEREAS, a conference was held on July 2, 2020, to hear oral argument on Defendant’s

motion to compel discovery pursuant to Federal Rule of Criminal Procedure 16(d)(2)(D) and a

court’s inherent authority to oversee discovery (Dkt. No. 66), and to address the parties’

application to adjourn the trial (Dkt. No. 89). For the reasons stated at the conference, it is hereby

        ORDERED that Defendant’s motion to compel identification of Brady materials and

certification for completion of production is DENIED. It is further

        ORDERED that the parties shall meet and confer on a schedule for pretrial disclosures of

witness and exhibit lists and shall file a joint letter by July 9, 2020, apprising the Court of the

outcome of discussions. If the parties cannot agree on a schedule, the Court will rule on

Defendant’s motion to compel such disclosures. It is further

        ORDERED that the trial scheduled for September 3, 2020, at 9:45 a.m., is hereby

adjourned to December 1, 2020, at 9:45 a.m. The parties are reminded that any discussions

regarding the possible disposition of this matter will not stay this schedule. For the reasons stated

on the record, the Court finds that the ends of justice served by excluding the time between today

and December 1, 2020, outweigh the best interests of the public and the defendant in a speedy
              Case 1:19-cr-00366-LGS Document 93 Filed 07/02/20 Page 2 of 2




trial under 18 U.S.C. 3161(h)(7)(A). It is further

        ORDERED that the parties shall file by October 23, 2020, any motions in limine, and by

October 30, 2020, any responses to the motions. It is further,

        ORDERED that the parties shall file by October 30, 2020, a joint statement as provided

in the Court’s Individual Rule H.1., a joint proposed voir dire, joint proposed requests to charge,

and a joint proposed verdict sheet, in each case noting any disagreements between the parties. It

is further,

        ORDERED that the parties shall appear for a final pretrial conference on November 20,

2020 at 11:00 a.m. in Courtroom 1106 of the Thurgood Marshall Courthouse, 40 Foley Square,

New York, New York, 10007.

        The Clerk of Court is respectfully directed to close Dkt. Nos. 66 and 89.



Dated: July 2, 2020
       New York, New York
